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1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 1 of 13

 

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Peter Strojnik UNITED STATES DISTRICT COURT
7847 N. Central Avenue 7 EOLORAEO
Phoenix, Arizona 85020 JAN 10 2020
Telephone: (602) 524-6602 JEFFREY P. COLWELL
ps@strojnik.com CLERK
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO
Case No:
PETER STROJNIK COMPLAINT
Plaintiff, 1. Americans with Disabilities
Act
2. Discrimination in Public
VS. Accommodations (State
Law)
SONNENALP PROPERTIES, INC. DBA 3. Negligence
SONNENALP
JURY TRIAL REQUESTED
Defendant.

 

 

 

 

. Plaintiff brings this action pursuant to the (1) Americans with Disabilities Act, 42

U.S.C. §12101 et seq. and corresponding regulations, 28 CFR Part 36 and Department
of Justice Standards for Accessible Design (“ADA”), (2) the Colorado Anti-
Discrimination Act (“CADA”) and (3) common law of negligence per se.

PARTIES

. Plaintiff Peter Strojnik is a veteran and a disabled person as defined by the ADA,

Unruh and DPA.

. Plaintiff is a single man currently residing in Maricopa County, Arizona. Plaintiff is

and, at all times relevant hereto has been, legally disabled by virtue of a severe right-
sided neural foraminal stenosis with symptoms of femoral neuropathy, prostate cancer
and renal cancer, degenerative right knee: and is therefore a member of a protected

class under the ADA and Unruh.

| The right knee has since been replaced with a prosthesis.

 
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1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 2 of 13

4. Defendant, owns, operates leases or leases to a lodging business (“Hotel”) located at

20 Vail Rd., Vail CO 81657 which is a public accommodation pursuant to 42 U.S.C.
§ 12181(7)(A) and CADA.

PLAINTIFF’S DISABILITY AND CAUSAL CONNECTION BETWEEN IT
AND ALLEGED BARRIERS

. Plaintiff suffers from physical impairments described above which impairments

substantially limit his major life activities. Plaintiff walks, stands, sleeps, climbs
stairs with difficulty and pain and requires compliant mobility accessible features at
places of public accommodation. Plaintiffs impairment is constant, but the degree of
pain is episodic ranging from dull and numbing pain to extreme and excruciating

agony.

. In particular, Plaintiff's renal cancer causes pain in the abdominal and back area, the

severe right-sided neural foraminal stenosis with symptoms of femoral neuropathy
causes pain while walking, standing, sitting, climbing and lying down. The knee

prosthesis also causes pain while walking, standing, sitting, climbing and lying down.

. As a consequence of Plaintiffs disability, Plaintiff requires 28 CFR 36.302(e)

disclosures that include information about accessible entrances to the hotel (e.g.
disclosure of disability passenger drop of zone, the distance between accessible
parking and the entrance to the hotel, proper signage in accessible parking), the path
of travel to guest check-in and other essential services (e.g. accessible check in
counter, accessible business counters, accessible concierge desk), and the accessible
route to the accessible room or rooms and the description of accessible rooms (c.g.,
roll in shower, lowered peepholes, lowered security hardware, proper door opening
hardware, water temperature, shower spray unit positive shut off, lowered AC and
other controls etc.). In addition, the Hotel’s booking websites fail to include

information about important features that do not comply with the Standards.

. Further as a consequence of Plaintiff's disability, with respect to specific architectural

barriers described in Addendum A, Plaintiff requires accessibility pursuant to ADA
and CADA.

 
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:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 3 of 13

9. Further as a result of Plaintiff's disability and the consequential entitlement to a
mobility accessible room properly dispersed between various categories of rooms,
Plaintiff enjoys the absolute right to (1) not pay a premium for an accessible room (28
CFR § 36.301) and to have the ability to rent a premium accessible room (dispersion).

10. Defendant (1) failed to provide information required by 28 CFR 36(302(c) and (2)
failed to remove architectural barriers to accessibility, all as more fully described in
Addendum A.

11. Defendant’s failure (1) to provide information required by 28 CFR 36(302(e) and (2)
remove architectural barriers to accessibility deprived Plaintiff from full and equal
enjoyment of the Hotel.

JURISDICTION

12. District Court has jurisdiction over this case or controversy by virtue of 28 U.S.C. §§
28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.

13. Plaintiff brings this action as a private attorney general who has been personally
subjected to discrimination on the basis of his disability, see 42 U.S.C.12188 and 28
CFR §36.501.

14.This Court has continuing subject matter jurisdiction by virtue of, inter alia,
Plaintiff's claim for equitable nominal damages.

15. Venue is proper pursuant to 28 U.S.C. § 1391.

16.The ADAAG violations in this Verified Complaint relate to barriers to Plaintiffs
mobility. This impairs Plaintiff’s full and equal access to the Hotel which, in turn,
constitutes discrimination satisfying the “injury in fact” requirement of Article [I of
the United States Constitution.

17. Plaintiff is deterred from visiting the Hotel based on Plaintiff's personal knowledge
that the Hotel is not ADA or CADA compliant as such compliance relates to
Plaintiff's disability.

18. Plaintiff intends to visit Defendant’s Hotel at a specific time when the Defendant’s
noncompliant Hotel becomes fully compliant with ADAAG; just as a disabled
individual who intends to return to a noncompliant facility suffers an imminent injury

from the facility's existing or imminently threatened noncompliance with the ADA, a

 
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1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 4 of 13

plaintiff who is deterred from patronizing a hotel suffers the ongoing actual injury of

lack of access to the Hotel.
COUNT ONE
Violation of Plaintiff’s Civil Rights under the ADA

19. Plaintiff realleges all allegations heretofore set forth.

20. By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
particularly applicable to his musculoskeletal disabilities all as more fully described
above.

21. Plaintiff visited the Vail area on or about August 21-25, 2019.

22.In preparation for the visit, Plaintiff consulted 3rd party and 1st party booking agent’s
websites, including the booking websites for Defendant, to determine which of the
many hotels in the area would best accommodate his ambulatory needs.

23.The deficiencies in Defendant’s booking agents’ disclosures are documented in
Addendum A which is by this reference incorporated herein.

24. Third party booking agent’s websites failed to identify and describe mobility related
accessibility features and guest rooms offered through its reservations service in
enough detail to reasonably permit Plaintiff to assess independently whether
Defendant’s Hotel meets his accessibility needs as more fully documented in
Addendum A.

25.Third party booking websites also failed to make reservations for accessible guest
rooms available in the same manner as individuals who do not need accessible rooms.
See Addendum A.

26. Because Plaintiff intends to revisit the area again, Plaintiff went Defendant’s Hotel to
determine if it would be able to accommodate his disability needs.

27.Plaintiff noted Defendant’s Hotel’s lack of accessibility and photographically
documented the same as disclosed in Addendum A.

28. Plaintiff has a definite plan to return to the Vail area and intends to stay at Defendant’s
Hotel once the Hotel confirms its ADA compliance (futility).

 

 

 
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1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 5 of 13

29. Plaintiffs personal encounter with architectural barriers to accessibility interfere with
his full and equal enjoyment of Defendant’s Hotel on account of his disabilities
described above.

30.The architectural barriers interfere with Plaintiff's full and equal enjoyment of
Defendant’s Hotel because they make it more difficult for Plaintiff to enjoy Hotels
amenities than for a non-disabled individual.

31.Defendant has violated the ADA by denying Plaintiff equal access to its public
accommodation on the basis of his disability as outlined above and as outlined in
Addendum A.

32. The removal of accessibility barriers listed above is readily achievable.

33. As a direct and proximate result of ADA Violations, Defendant’s failure to remove
accessibility barriers prevented Plaintiff from equal access to the Defendant’s public
accommodation.

WHEREFORE, Plaintiff prays for all relief as follows:

A. Relief described in 42 U.S.C. §2000a — 3; and

B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -

C. Injunctive relief order to alter Defendant’s place of public accommodation to
make it readily accessible to and usable by ALL individuals with disabilities;
and

D. Requiring the provision of an auxiliary aid or service, modification of a
policy, or provision of alternative methods, to the extent required by
Subchapter III of the ADA; and

E. Equitable nominal damages; and

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For costs, expenses and attorney’s fees; and
G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).

COUNT TWO
(Violation of the CADA)

34. Plaintiff realleges all allegations heretofore set forth.
35. Pursuant to CADA:

 

 
Case 1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 6 of 13

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It is a discriminatory practice and unlawful for a person, directly or indirectly,
to refuse, withhold from, or deny to an individual or a group, because of
disability..., the full and equal enjoyment of the goods, services, facilities,
privileges, advantages, or accommodations of a place of public
accommodation [.] Colo. Rev. Stat. §24-34-601(2)

36. Pursuant to implementing state regulation, the CADA is “substantially equivalent to
Federal Law, as set forth in the Americans with Disabilities Act...” 3 CO ADC 708-
1:60.1(B).

37. The regulation further provides that “[w]henever possible, the interpretation of state
law concerning disability shall follow the interpretations established in Federal
Regulations adopted to implement the Americans with Disabilities Act...” 3 CO ADC
708-1:60.1(C).

38.As stated above, Defendant has violated the CADA by denying individuals with
musculoskeletal disabilities the full and equal enjoyment of goods, services and
accommodations of the Defendant Hotel.

39. Defendant’s violations of CADA have harmed Plaintiff and will continue to harm
Plaintiff in the absence of injunctive relief sought here.

40. Any Person who violates § 24-34-601 (1) “shall forfeit and pay a sum no less than
fifty dollars nor more than five hundred dollars to the person aggrieved hereby.
WHEREFORE, Plaintiff demands judgment against Defendant as follows:

a. A Declaratory Judgment that at the commencement of this action Defendant was
in violation of the specific requirements of ADA and CADA; and

b. Irrespective of Defendants “voluntary cessation” of the CADA violation, if
applicable, a permanent injunction pursuant to CADA which directs Defendant to
take all steps necessary to bring its accommodation into full compliance with the
requirements set forth in CADA, and its implementing regulations, so that the
Hotel facilities are fully accessible to, and independently usable by, disabled
individuals, and which further directs that the Court shall retain jurisdiction for a
period to be determined after Defendant certifies that its facilities are fully in

compliance with the relevant requirements of CADA to ensure that Defendant has

 
Case 1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 7 of 13

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adopted and is following an institutional policy that will in fact cause Defendant
to remain fully in compliance with the law; and

c. Irrespective of Defendants “voluntary cessation” of the CADA violation, if
applicable, the payment of costs of suit; and

d. Order closure of the Defendant’s place of public accommodation until Defendant
has fully complied with the Unruh; and

e. For damages to the maximum extent allowable by law; and

f. For reasonable attorney’s fees, litigation expenses and costs; and

g. The provision of whatever other relief the Court deems just, equitable and
appropriate.

COUNT THREE
Negligence

41. Plaintiff realleges all allegations heretofore set forth.

42. ADA and CADA specify prohibited conduct violating the accessibility standards as
set forth in 1991 and 2010 Standards for Accessibility Design and 28 CFR Part 36.

43. Defendant had a duty to Plaintiff to remove ADA accessibility barriers so that Plaintiff
as a disabled individual would have full and equal access to the public
accommodation.

44. Defendant breached this duty.

45. Defendant is or should be aware that, historically, society has tended to isolate and
segregate individuals with disabilities, and, despite some improvements, such forms
of discrimination against individuals with disabilities continue to be a serious and
pervasive social problem2.

46. Defendant knowingly and intentionally participated in this historical discrimination
against Plaintiff, causing Plaintiff damage.

47. Discrimination against individuals with disabilities persists in the use and enjoyment

of critical public accommodations.

242 U.S.C. § 12101(a)(2)
342 U.S.C. §12101(a)(3)

 
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:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 8 of 13

48. Defendant’s knowing and intentional persistence in discrimination against Plaintiff is
alleged, causing Plaintiff damage.

49. Individuals with disabilities, including Plaintiff, continually encounter various forms
of discrimination, including outright intentional exclusion, the discriminatory effects
of architectural, overprotective rules and policies, failure to make modifications to
existing facilities and practices, exclusionary qualification standards and criteria,
segregation, and relegation to lesser services, programs, activities, benefits, jobs, or
other opportunitics4.

50. Defendant’s knowing and intentional discrimination against Plaintiff reinforces above
forms of discrimination, causing Plaintiff damage.

51. Census data, national polls, and other studies have documented that people with
disabilities, as a group, occupy an inferior status in our society, and are severely
disadvantaged socially, vocationally, economically, and educationallys.

52.Defendant’s knowing and intentional discrimination has relegated Plaintiff to an
inferior status in society, causing Plaintiff damage.

53. The Nation’s proper goals regarding individuals with disabilities are to assure equality
of opportunity, full participation, independent living, and economic self-sufficiency
for such individualse.

54.Defendant’s knowing, and intentional discrimination has worked counter to our
Nation’s goals of equality, causing Plaintiff damage.

55. Continued existence of unfair and unnecessary discrimination and prejudice denies
people with disabilities the opportunity to compete on an equal basis and to pursue
those opportunities for which our free society is justifiably famous, and costs the
United States billions of dollars in unnecessary expenses resulting from dependency
and nonproductivity7.

56. Defendant’s knowing and intentional unfair and unnecessary discrimination against

Plaintiff demonstrates Defendant’s knowing and intentional damage to Plaintiff.

442 U.S.C. §12101(a)(5)
5 42 U.S.C. $12101(a)(6)
642 U.S.C. §12101(a)(7)
742 U.S.C. §12101(a)(8)

 
Case 1:20-cv-00085-NYW Document 1 Filed 01/10/20 USDC Colorado Page 9 of 13

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57.Defendant’s breach of duty caused Plaintiff damages including, without limitation,
the feeling of segregation, discrimination, relegation to second class citizen status the
pain, suffering and emotional damages inherent to discrimination and segregation and
other damages to be proven at trial.
58. By violating Plaintiff's civil rights, Defendant engaged in intentional, aggravated and
outrageous conduct.
59.The ADA has been the law of the land since 1991, but Defendant engaged in a
conscious action of a reprehensible character, that is, Defendant denied Plaintiff his
civil rights, and cause him damage by virtue of segregation, discrimination, relegation
to second class citizen status the pain, suffering and emotional damages inherent to
discrimination and segregation and other damages to be proven at trial
60.Defendant either intended to cause injury to Plaintiff or defendant consciously
pursued a course of conduct knowing that it created a substantial risk of significant
harm to Plaintiff.
WHEREFORE, Plaintiff prays for relief as follows:
A. For finding of negligence; and
B. For damages in an amount to be proven at trial; and

C. For such other and further relief as the Court may deem just and proper.

REQUEST FOR TRIAL BY JURY
Plaintiff respectfully requests a trial by jury in issues triable by a jury.

RESPECTFULLY SUBMITTED this 6 day of January, 2020.

PETER STROJNIK

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Case 1:20-cv-00085-NYW Document1 Filed 01/10/20 USDC Colorado Page 10 of 13

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ADDENDUM A

INSUFFICIENT ACCESSIBILITY DISCLOSURE

 

Accessibility Accessible bathroan: In-room accessibdity | Roll-in shower

 

 

NO ACCESSIBILITY DISCLOSURE

PERSONAL BARRIER ECOUNTERS

    
   

Identification
Ca

Identification | Inaccessible check in counter

 

 

Inaccessible lobby bar

 

 

 

 

 

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Case 1:20-cv-00085-NYW Document1 Filed 01/10/20 USDC Colorado Page 11 of 13

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Inaccessible concierge
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handrails

 

 
  

Inaccessible route with no
signage to accessible route

 

Exposed plumbing

 

   
 

Improperly configured steps

Improperly configured
handrails

Inaccessible route with no

 

 

  

 

signage to accessible route

   
  

 

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Improperly configured stall

   

 

 

 

 

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*20-cv-O00085-NYW Document1 Filed 01/10/20 USDC Colorado Page 12 of 13

 

 

 

Inaccessible route with no
signage to accessible route

 

Tnaccessible outdoor spa

 

Inaccessible route with no

signage to accessible route

Le

Improperly configured
handrails

‘Inaccessible outdoor spa 2

 

 

 

 

cere

Inaccessible indoor pool

 

 

Tnaccessible oxygen bar

Improperly configured
handrails

 

 

 

 

 

 

 

  
  

 

 
  
  

Inaccessible route with no
i to accessible te

   

 

Inaccessible spa counter

 

 

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Case 1:20-cv-00085-NYW Document1 Filed 01/10/20 USDC Colorado Page 13 of 13

 

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Identification of Specific Barrier in Plain Language: As indicate below each photo.

 

The dates on each particular occasion on which Plaintiff encountered such barrier and
which deter Plaintiff from visiting Hotel: On or about August 21-24, 2019.

 

 

 

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